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 1   PHILLIP A. TALBERT
     United States Attorney
 2   ROSANNE L. RUST
     ANDRÉ M. ESPINOSA
 3   Assistant United States Attorneys
     501 I Street, Suite 10-100
 4   Sacramento, CA 95814
     (916) 554-2700
 5

 6   Attorneys for Plaintiff
     United States of America
 7

 8                                 IN THE UNITED STATES DISTRICT COURT
 9                                    EASTERN DISTRICT OF CALIFORNIA
10
                                                     )
11   UNITED STATES OF AMERICA,                       )   CASE NO. 2:15-cr-00176-TLN
                                                     )
12                 Plaintiff,                        )   STIPULATION AND ORDER TO CONTINUE
                                                     )   THE RESTITUTION HEARING
13        v.                                         )
                                                     )   DATE: AUGUST 24, 2017
14   SOMALY SIV,                                     )   TIME: 9:30AM
                                                     )   COURT: HON. TROY L. NUNLEY
15                                                   )
                   Defendant.                        )
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17

18          Plaintiff United States of America, by and through its counsel, Assistant United States Attorney

19   Rosanne L. Rust, and defendant, Somaly Siv, by and through her counsel, Michael Chastaine, hereby

20   stipulate as follows:

21          1.        By previous order, this matter was set for a restitution hearing on August 24, 2017.

22          2.        The parties agree that this request for continuance now seeks to schedule the restitution

23   hearing beyond 90 days from Ms. Siv’s sentencing. The parties agree, however, that “‘. . . the purpose

24   behind the statutory ninety-day limit on the determination of victims’ losses is not to protect defendants

25   from drawn-out sentencing proceedings or to establish finality; rather, it is to protect crime victims

26   from the willful dissipation of defendants’ assets.’” United States v. Cienfuegos, 462 F.3d 1160, 1162-

27   63 (9th Cir. 2006) (quoting United States v. Zakhary, 357 F.3d 186, 191 (2d Cir. 2004)).

28          3.        The parties also agree that sentencing courts are not deprived of their authority to order
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 1   restitution when they miss the ninety-day deadline “at least where . . . the sentencing court made clear
 2   prior to the deadline’s expiration that it would order restitution, leaving open (for more than 90 days)
 3   only the amount.” Dolan v. United States, 560 U.S. 605, 608 (2010).
 4           4.       Against this backdrop and for the reasons articulated herein, by stipulation, the parties
 5   now jointly move to continue the restitution hearing until September 7, 2017, so that they may reach a
 6   resolution regarding the restitution amount. The government has submitted a proposed restitution
 7   amount to defense counsel. Defense counsel has stated that he needs more time to determine if that
 8   proposed amount is accurate, and to discuss this matter with his client. Given that, along with defense
 9   counsel’s upcoming calendar this month, the parties request an extension of the restitution hearing.
10   The government expects that the parties will be able to resolve the restitution amount issue, and be able
11   to submit a stipulation and proposed order to the Court by September 7, 2017, obviating the need for a
12   hearing on this matter.
13           5.       Accordingly, the parties request that the restitution hearing be continued to September 7,
14   2017.
15           IT IS SO STIPULATED.
                                                            Respectfully Submitted,
16
                                                            PHILLIP A. TALBERT
17                                                          United States Attorney
18 Dated: August 22, 2017                                   /s/ Rosanne L. Rust
                                                     By:    ROSANNE L. RUST
19                                                          Assistant U.S. Attorney
20
                                                            LAW OFFICE OF MICHAEL CHASTAINE
21   Dated: August 22, 2017                           By:   /s/ Michael Chastaine    _______
                                                            MICHAEL CHASTAINE
22                                                          Attorneys for SOMALY SIV
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24   ///
25   ///
26   ///
27   ///
28   ///




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                                                     ORDER
 1

 2          GOOD CAUSE APPEARING upon the stipulation of the parties it is ordered:
 3   The restitution hearing in this matter is continued to September 7, 2017.
 4                  IT IS SO ORDERED.
 5   Dated: August 22, 2017
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                                                               Troy L. Nunley
 8                                                             United States District Judge
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